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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 THE CENTER FOR INVESTIGATIVE
 REPORTING
 1400 65th St., Suite 200                             CIVIL ACTION
 Emeryville, CA 94608,

                         Plaintiff,                   NO. l 8-cv-01839-MMB

                 v.

 SOUTHEASTERN PENNSYLVANIA
 TRANSPORTATION AUTHORITY
 1234 Market Street
 Philadelphia, PA 19107,

                         Defendant.


                  STIPULATED AND AMENDED SCHEDULING ORDER

                On this date, July 26, 2018, Plaintiff The Center for Investigative Reporting

("CIR") and Defendant Southeastern Pennsylvania Transportation Authority ("SEPTA")

stipulate and propose that the Court amend the Scheduling Order of June 7, 2018 (Dkt. 11) as

follows:

                Plaintiff CIR will file its motion for preliminary injunction on August 17, 2018.

                Defendant SEPTA will file any opposition to CIR' s motion on August 31, 2018.

                Plaintiff CIR will file any reply iµ support of its motion on September 10, 2018.

                The requirement that the parties file pre-hearing briefs by September 6, 2018, is

stricken.

                The Court will hold a hearing on PlaintiffCIR's motion on September 14, 2018 at

9:30 a.m. in Courtroom 3A.
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SO ORDERED this     ~ay of        ;r ~018.
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